     Case 1:22-cr-00177-TWR-BAM Document 13 Filed 06/27/22 Page 1 of 1


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6                             IN THE UNITED STATES DISTRICT COURT
7                          FOR THE EASTERN DISTRICT OF CALIFORNIA
8     UNITED STATES OF AMERICA,                  )       Case №: 1:22-CR-00177-2-DAD
                                                 )
9                    Plaintiff,                  )                    ORDER
                                                 )               APPOINTING COUNSEL
10           vs.                                 )
                                                 )
11    TILISHA MORRISON,                          )
                                                 )
12                   Defendant.                  )
                                                 )
13
            The above named Defendant has, under oath, sworn or affirmed as to her financial
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15   inability to employ counsel or has otherwise satisfied this Court that she is financially unable to

16   obtain counsel and wishes counsel be appointed to represent her. Therefore, in the interests of

17   justice and pursuant to the U.S. CONST., amend VI and 18 U.S.C. § 3006A,
18
            IT IS HEREBY ORDERED that Monica L. Bermudez be appointed to represent the
19
     above defendant in this case effective nunc pro tunc to June 24, 2022.
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            This appointment shall remain in effect until further order of this court.
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22
     DATED: 6/24/2022
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24                                                   ____________________________
                                                     HON. SHEILA K. OBERTO
25                                                   United States Magistrate Judge

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